                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,

           Plaintiff,

     v.                                Case No. 1:24-cv-838

CITY OF DURHAM, NORTH
CAROLINA,

           Defendant.


BRIEF REGARDING APPLICABILITY OF RICCI v. DESTEFANO TO MOTION
   FOR PROVISIONAL APPROVAL AND ENTRY OF CONSENT DECREE




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   I.      Introduction

        During a hearing on the parties’ joint motion for provisional approval of a consent

decree (ECF No. 2, “Joint Motion”), this Court requested further briefing on the

applicability of the strong-basis-in-evidence standard established in Ricci v. DeStefano,

557 U.S. 557, 585 (2009), and applied in United States v. Brennan, 650 F.3d 65 (2d Cir.

2011). See Minute Entry (Dec. 16, 2024) and Hearing Transcript at 57.

        As discussed below, binding Fourth Circuit precedent requires the Court to apply

the fair-and-reasonable standard articulated in United States v. North Carolina, 180 F.3d

574, 581 (4th Cir. 1999), and not Ricci’s strong-basis-in-evidence standard (“Ricci

standard”). Ricci and Brennan are procedurally distinct from this case, and neither

conflicts with this binding precedent. Approving a consent decree with prospective

remedies is materially different than evaluating a disparate treatment claim resulting from

an employer’s unilateral decision that upset its employees’ settled expectations. At the

same time, the fair-and-reasonable standard guards against many of the same concerns as

the Ricci standard, permitting the Court to ensure that Durham does not unnecessarily

interfere with third party interests in an effort to remedy a disparate impact.

        But this Court need not decide whether the Ricci standard applies because even if

it does, the parties more than satisfy it. There is a strong basis in evidence to believe that

Durham used a firefighter hiring test that had a statistically significant adverse impact on

African-American candidates. Likewise, there is a strong basis in evidence to believe

that this test failed to meaningfully or validly distinguish between candidates who are and


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are not able to perform successfully in the firefighter position—especially given

Durham’s choice not to follow its test developer’s recommendations regarding how to

use the test. There is thus a strong basis in evidence that Durham’s uses of this invalid

hiring test violated the disparate impact prohibition in Title VII of the Civil Rights Act of

1964 (“Title VII”), 42 U.S.C. § 2000e-2(k). Finally, there is a strong basis in evidence to

believe that the relief provided in the consent decree is well within the bounds of a what a

court might award after a finding of liability on this disparate impact claim.

          Given that the parties satisfy both the Ricci and fair-and-reasonable standards, the

Court should grant the Joint Motion and provisionally approve the consent decree. 1

    II.      The Court should apply the standard from United States v. North Carolina
             to the parties’ Joint Motion.

          The Court is bound by Fourth Circuit precedent to apply North Carolina’s fair-

and-reasonable standard when deciding whether to enter the consent decree in this case,

180 F.3d at 581, and neither Ricci nor Brennan upend this precedent. In North Carolina,

the United States sued the State because it found that the North Carolina Department of

Corrections engaged in a pattern or practice of sex discrimination against female

correctional officers. Id. at 578. The United States and North Carolina moved the district

court to enter a consent decree resolving the United States’ claims. The consent decree

included, among other things, priority hiring and priority promotion relief for female


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  Though not a signatory on the instant brief, Durham concurs that whether the Court
applies the fair-and-reasonable standard or the strong-basis-in-evidence standard, either
standard is met by the evidence presented. However, Durham reserves its right to contest
specific factual allegations herein if the consent decree is not approved.
                                                2


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claimants harmed by the discriminatory practices. Id. The district court declined to

approve the consent decree, and the Fourth Circuit reversed. In reaching this decision,

the Fourth Circuit held that courts faced with a motion to approve a consent decree

should apply the well-established standard that requires them to determine whether the

consent decree is “fair, adequate, and reasonable” and not “illegal, a product of collusion,

or against the public interest” (“fair-and-reasonable standard”). Id. at 581 (citation

omitted). The Court should apply the fair-and-reasonable standard here for several

reasons.

           A.     North Carolina is binding on this Court, and its standard has been
                  widely and uniformly applied to motions for entry of a consent
                  decree even after Ricci.

       Trial courts in the Fourth Circuit, even after Ricci, have applied the fair-and-

reasonable standard, articulated in cases like North Carolina, when they consider whether

to approve Title VII consent decrees that include relief similar to the relief in the

proposed consent decree here, including priority hiring relief. See, e.g., Exhibit 3 (United

States v. Md. Dep’t of State Police, 1:24-cv-2862 (D. Md. Nov. 8, 2024)); United States

v. Balt. Cnty., Md., 19-CV-2465, 2021 WL 2000480, at *4 (D. Md. May 19, 2021).

       Having conducted thorough research, the United States is unaware of any district

or appellate court that has applied the Ricci standard in a decision on a motion for the

entry of a consent decree to resolve a Title VII disparate impact case such as this one. 2


2
 In United States v. New Jersey, 10-CV-91, 2012 WL 3265905, at *8 (D.N.J. June 12,
2012), some individuals who objected to the decree argued that the Ricci standard should

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Indeed, in the sixteen years after Ricci and fourteen years after Brennan, district courts

have consistently applied the fair-and-reasonable standard to such motions. 3

        The one court of which the United States is aware that expressly considered this

issue decided that the fair-and-reasonable standard, not Ricci, applied. Bazile v. City of

Houston, 858 F. Supp. 2d 718, 760–61, 760 n.23 (S.D. Tex. 2012). In reaching this

decision, the Bazile court found the distinction between its procedural posture and Ricci’s

dispositive:

        Here, the issue is not whether the City may take an adverse employment
        action [that may constitute disparate treatment, as in Ricci.] The issue is
        whether the court can approve a consent decree . . . based on the evidentiary
        record the parties have presented. Ricci’s ‘strong basis in evidence
        standard’ is not applicable.

Id.

           B.     Applying the Ricci standard here would disregard important
                  differences in the procedural postures of Ricci and Brennan as
                  compared to the present case.

        The Ricci and Brennan decisions were made in the context of disparate treatment

cases addressing what the courts described as voluntary, unilateral employer action,

whereas the parties here propose that Durham will act only after the Court ensures that a




apply. The court did not decide whether Ricci applied because it determined that, even if
it did apply, the United States could meet the Ricci standard. Id. at *17.
3
  See, e.g., United States v. Pennsylvania, 14-CV-01474, 2021 WL 6197382, at *2 (M.D.
Pa. Dec. 31, 2021); United States v. Rhode Island, 14-CV-78, 2018 WL 2175557, at *1
(D.R.I. May 11, 2018); Exhibit 4 (United States v. City of Lubbock, 5:15-cv-234-C (N.D.
Tex. Nov. 4, 2016)); Exhibit 5 (United States v. City of Austin, 1:14-CV-00533-LY
(W.D. Tex. Nov. 7, 2014), at 21); United States v. Massachusetts, 869 F. Supp. 2d 189,
192–93 (D. Mass. 2012).
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likely case of disparate impact liability exists and after a consent decree is entered.

       In Ricci, the City of New Haven, Connecticut, administered written and oral tests

for promotion to captain and lieutenant positions in its fire department. Ricci, 557 U.S. at

562. After announcing that White candidates passed the tests at a substantially higher

rate than African-American candidates, New Haven declined to certify the test results

because of a fear that, due to the racial disparities, doing so would violate Title VII’s

disparate impact provision. Consequently, none of the candidates who took the tests

could be promoted. Seventeen White candidates and one Hispanic candidate sued New

Haven alleging, among other things, that by declining to certify the test results, New

Haven discriminated against them because of their race in violation of Section 703(a)—

the disparate treatment provision of Title VII, 42 U.S.C. § 2000e-2(a). Id. at 574–75.

       The Supreme Court held that New Haven violated Section 703(a) of Title VII

when it discarded the test results based on racial disparities. Specifically, the Court held

that after an employer has administered a test to candidates who have legitimate

expectations about the way the employer will use the test, the employer may not

voluntarily make race-conscious alterations to the test results to avoid a violation of Title

VII’s disparate impact provision (42 U.S.C. § 2000e-2(k)) unless the employer has a

“strong basis in evidence” to believe that reliance on the test results would subject it to

disparate impact liability. Ricci, 557 U.S. at 585.

       The Ricci Court did not decide whether courts should apply the strong-basis-in-

evidence standard when they consider motions for entry of consent decrees because New


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Haven had not been sued, let alone had it agreed to a consent decree, when it discarded

the test results. Indeed, in Ricci, New Haven acted absent three crucial circumstances

present here: (i) No neutral investigative body dedicated to the protection of the public

interest, like the U.S. Department of Justice, had determined that New Haven’s fear of

disparate impact liability was reasonable; (ii) No lawsuit alleging disparate impact

liability had been filed; and (iii) No court had ordered through a consent decree that New

Haven take the action at issue after determining that a strong case of disparate impact

liability exists. The Parties here propose that Durham will implement the remedial

measures in question only after all three of these conditions are met.

       In Brennan, White male employees of the defendant, City of New York, argued

that the defendant’s unilateral implementation of disputed portions of a settlement

agreement—the relevant terms of which had not been ultimately approved or ordered by

the district court, see 650 F.3d at 118—constituted disparate treatment against them on

the basis of their race. Id. at 70–72. In its opinion, the Second Circuit did not consider

whether the district court should have entered the settlement agreement as a consent

decree because that issue was moot at the time the Second Circuit was addressing the

disparate treatment claim. Id. at 91–92. The court explicitly noted that it was “not

deciding whether the district court’s long ago decision not to approve the disputed

portions of the settlement agreement and enter them as a consent decree was proper, in

whole or in part.” Id. at 92. Rather, the Brennan court held that to support the

defendant’s decision to unilaterally implement the portions of the agreement in question,


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without the approval of the court, the defendant would have needed to satisfy the Ricci

standard and have a strong basis in evidence to fear disparate impact liability. Id. at 109–

17.

         The Brennan court expressly distinguished its posture from one where parties are

requesting a court to approve a consent decree: “[W]hatever standard applies in a case . . .

in which a court is deciding whether to approve a settlement or to enter it as a consent

decree is not germane to this case . . . .” Id. at 117. It clarified further: “[W]e do not

mean to suggest that the authority of a court to order an employer to do something . . . is

coterminous with an employer’s power to do that same thing voluntarily without

violating [Title VII’s disparate treatment provision].” Id. at 99.

         In light of these crucial procedural differences, application of the Ricci standard

here would significantly muddle the legal landscape. While a consent decree admittedly

differs from an adjudicated order following a trial, where the court makes findings of fact

and conclusions of law, it also differs from a voluntary decision based on a mere fear of

liability. Because a consent decree is different from an adjudicated order following a

trial, it is appropriate for there to be some degree of scrutiny as to the merits of the case it

resolves (as the fair-and-reasonable standard requires, as is discussed further below). But

the Ricci standard applies at the other end of a spectrum, where an employer acts

unilaterally and in the absence of a court order, based solely on a (potentially baseless)

fear of liability. Nothing in Ricci or Brennan requires that the Ricci standard be applied

here, where the employment actions in question are proposed to be taken only after an


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extensive neutral investigation, after the filing of joint stipulations (and now expert

declarations) that the United States can, and Durham cannot, meet its burdens under the

law, and after the court gives final entry to an order requiring that Durham takes these

actions. These circumstances have far more in common with remedial action taken upon

order after a trial than they do with the kind of voluntary action at issue in Ricci and

Brennan. Applying the Ricci standard here would conflate circumstances that are

meaningfully different and introduce uncertainty that does not currently exist as to what

legal standard applies when a court decides whether to approve a consent decree.

          C.      Applying the fair-and-reasonable standard permits a court to
                  ensure that there is a strong case of disparate impact liability before
                  third-party interests are affected.

       While the fair-and-reasonable standard requires courts “to be guided by the

general principle that settlements are encouraged,” it also provides that courts should not

“blindly accept the terms of a proposed settlement.” North Carolina, 180 F.3d at 581.

Even though “voluntary compromises of Title VII actions enjoy a presumption of

validity,” Kirkland v. N. Y. State Dep’t of Corr. Servs., 711 F.2d 1117, 1128 (2d Cir.

1983), the fair-and-reasonable standard still affords several ways for courts to ensure that

employers do not capitulate in the face of baseless disparate impact claims as a way to

engage in disparate treatment.

       First, as discussed in the Joint Motion, the fair-and-reasonable standard requires

courts to consider the plaintiff’s likelihood of success on the merits. ECF No. 3 at 10–11.

Depending on the facts and procedural posture of a case, sometimes stipulations or


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admissions by the parties will suffice for purposes of this factor. 4 Sometimes

declarations are submitted to demonstrate the plaintiff’s likelihood of success. 5 But in

any case, the fair-and-reasonable standard allows a court to block an employer that wants

to use the settlement of a baseless disparate impact claim to engage in the type of

disparate treatment at issue in Ricci because the court must ensure that the parties’

decision to enter into the consent decree “represents a reasonable factual and legal

determination based on the facts of record, whether established by evidence, affidavit, or

stipulation.” United States v. City of Miami, Fla., 664 F.2d 435, 441 (5th Cir. 1981)

(“Miami II”). 6

       Second, under the fair-and-reasonable standard, courts also consider any effect

that the consent decree might have on third parties’ interests. United States v.

Massachusetts, 869 F. Supp. 2d 189, 195–96 (D. Mass. 2012) (retroactive seniority

provision in consent decree approved despite impact on third parties). Specifically, when


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  United States v. Balt. Cnty., Md., 19-CV-2465, 2021 WL 2000480, at *1, *6 (D. Md.
May 19, 2021) (facts court considered were based on stipulations); United States v.
Michigan, 16-CV-12146, 2021 WL 2253270, at *4 (E.D. Mich. June 3, 2021) (court
considered only facts alleged in United States’ complaint).
5
  Pennsylvania, 2021 WL 6197382, at *3 (court considered evidence submitted with
summary judgment motions); Massachusetts, 869 F. Supp. 2d at 191 (same); Ex. 5,
Austin, 1:14-CV-00533-LY, at 2 (court considered declarations in support of entry of
consent decree).
6
  When considering whether to enter consent decrees in disparate impact cases, some
courts have required a showing only on the plaintiff’s prima facie case. See Kirkland v.
N.Y. State Dep’t of Corr. Servs., 711 F.2d 1117, 1129–30 (2d Cir. 1983). Other courts also
considered whether the challenged employment practice is job-related and consistent with
business necessity and/or whether less discriminatory alternatives exist. See
Pennsylvania, 2021 WL 6197382, at *3. It does not appear the Fourth Circuit has ruled
on this issue.
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the rights of third parties are at stake, courts applying the fair-and-reasonable standard

ensure that the consent decree’s effect on third parties is neither “unreasonable nor

proscribed.” Miami II, 664 F.2d at 441; see also Durrett v. Hous. Auth. of City of

Providence, 896 F.2d 600, 604 (1st Cir. 1990) (relying on Miami II). This further enables

courts to ensure that an employer does not rely on a baseless disparate impact claim for

purposes of engaging in disparate treatment against third parties.

       Third, the fair-and-reasonable standard requires a court to ensure that the

settlement is not a product of collusion. ECF No. 3 at 10. This requirement too would

allow a court to block the settlement of a disparate impact claim if the plaintiff and

defendant both wanted to use the settlement of a baseless disparate impact claim to

engage in the type of disparate treatment at issue in Ricci. There is no reason to think that

collusion is an issue here since the decree resulted from arm’s length negotiations among

experienced counsel after a thorough examination of the evidence, as discussed in the

Joint Motion. Id. at 20–22. Further, unlike a private plaintiff, the United States will not

receive any pecuniary benefit from the settlement, which is why the normal presumption

of validity of a Title VII settlement is even stronger when the United States is a party to

the settlement. United States v. City of Miami, Fla., 614 F.2d 1322, 1332 (5th Cir. 1980)

(“Miami I”).

          D.      At a minimum, Ricci does not apply to the parts of the consent
                  decree providing for the formation of a new test.

       Even if the Ricci standard applies, it does not require a strong basis in evidence

before an employer can agree, as a prospective matter, to adopt a Title-VII-compliant

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hiring process moving forward, as the decree here requires. ECF No. 2-2 ¶¶40–51.

       The Ricci decision itself emphasizes that “Title VII does not prohibit an employer

from considering, before administering a test,” how best to design that test “to provide a

fair opportunity for all individuals.” Ricci, 557 U.S. at 585 (emphasis added). Such

conduct is deeply distinguishable from the employer’s actions in Ricci. There, New

Haven’s employment actions were taken in the face of legitimate expectations that it

would do otherwise: New Haven discarded the results of tests it had already given, the

results of which had been announced, and which it had planned to use in a specific

anticipated way. As the Court noted,

       Examinations like those administered by the City create legitimate
       expectations on the part of those who took the tests. . . . [S]ome of the
       firefighters here invested substantial time, money, and personal
       commitment in preparing for the tests. . . . [And yet,] the firefighters saw
       their efforts invalidated . . . .

Ricci, 557 U.S. at 583–84. Similarly, in Brennan, the employment action at issue upset

employees’ existing expectations because it provided beneficiaries with competitive

retroactive seniority benefits that directly impacted other employees. Brennan, 650 F.3d

at 104–05.

       Here, by contrast, no legitimate expectations are proposed to be upset. Durham

has already hired firefighters from among the last group of applicants who took the

challenged exam, and it has not administered any other exam since. And the retroactive

seniority benefits provided by the decree here are exclusively non-competitive. See infra

Section III.C.3. The test development provisions of the consent decree require actions


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that could not be construed as disparate treatment in violation of Title VII; in contrast to

the conduct in Ricci and Brennan, development of a test is not an adverse employment

action that upsets legitimate expectations, and the relevant provisions explicitly require

that the test ultimately adopted is Title-VII-compliant. The Ricci decision exempted this

kind of conduct from the strong-basis-in-evidence standard and thus, even if the Ricci

standard applies here generally, it does not apply to the test development provisions of

the decree.

   III.   Even if the Ricci standard applies, the parties more than satisfy it.

       For the reasons discussed below, even if the Ricci standard applies here, the Court

should provisionally approve and enter the consent decree because the parties more than

meet it. Given this, the Court need not decide if the Ricci standard applies.

       Under Ricci, there must be a strong basis in evidence that the employer violated

Title VII’s disparate impact provision. Ricci, 557 U.S. at 585. This requires that the

employer have an “objectively reasonable basis to fear” disparate impact liability under

Title VII. Brennan, 650 F.3d at 110–13. There must also be evidence to suggest “a court

might well impose . . . a make-whole remedy equivalent or broader” than what the

employer provides in a settlement. Id. at 110. Notably, to satisfy the Ricci standard,

employers do not have to show that, absent the remedial measures they adopted, a court

actually would have found them liable for disparate impact or that a court actually would

have ordered them to implement the remedial measures they adopted. Id. at 114–16.




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          A.      There is a strong basis in evidence to support the United States’
                  prima facie case of disparate impact discrimination.

       For purposes of its investigation, the United States retained an expert, Dr. Charles

Scherbaum, who analyzed data that Durham produced, and he determined that Durham’s

pass-fail and ranking uses of its written test from 2015 to the present 7 each adversely

impacted African-American candidates to a statistically significant extent. Exhibit 1

(Scherbaum Declaration) ¶7. Dr. Scherbaum concluded that White candidates’ test

scores were, on average, ten percentage points (out of 100) higher than African-American

candidates’ test scores. Id. ¶8. Consequently, African-American candidates were five

times less likely to pass the written test and almost six times less likely to receive an

interview as a result of their score on the written test. Id. The table below provides

further detail. See id. ¶¶9–10.




7
  Dr. Scherbaum found it appropriate to examine the impact of the Comprehensive
Examination Battery (CEB) in the aggregate—that is, by considering applicants who
applied during the entire relevant timeframe together, rather than year by year. Exhibit 1
(Scherbaum Declaration) at Section III.B. Beyond the statistical rationales for adopting
this approach, Fourth Circuit precedent supports it, having held that, when possible, it is
“highly preferable” to examine data in the aggregate because, by increasing the sample
size, one can more readily determine if there is a pattern of discrimination. Lilly v.
Harris-Teeter Supermarket, 720 F.2d 326, 336 n.17 (4th Cir. 1983); see also Eldredge v.
Carpenters 46 N. Cal. Cntys. Joint Apprenticeship & Training Comm., 833 F.2d 1334,
1339 n.7 (9th Cir. 1987); Paige v. California, 291 F.3d 1141, 1148 (9th Cir. 2002).
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    Applicant race        Percent of test-takers who       Percent of eligible test-
                          failed the written test          passers who were not invited
                                                           to interview due to test score
    African-American      37%                              33% 8

    White                 11%                              14%


        The disparities between the percentages of African-American candidates and

White candidates disqualified by Durham’s pass-fail and ranking uses of the written

exam are statistically significant at 9.33 units and 6.48 units of standard deviation

respectively. Id. ¶11. This level of statistical significance more than meets the United

States’ burden under Title VII to establish a prima facie case. ECF No. 3 at 13–15

(discussing standard of proof for a prima facie case).

        Given this, it was objectively reasonable for Durham to stipulate, as it did (ECF

No. 2-2 at 2–4), that the United States could establish a prima facie case of disparate

impact discrimination under the legal framework discussed in the Joint Motion, ECF No.

3 at 13–14.

            B.       There is a strong basis in evidence that Durham could not show that
                     its uses of the Comprehensive Examination Battery (CEB) are job-
                     related and consistent with business necessity.

        If a plaintiff establishes a prima facie case of disparate impact, the burden shifts to

the defendant to show that the challenged employment practice is job-related and

consistent with business necessity. See ECF No. 3 at 15. There is a strong basis in


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  This figure differs by one percent from the figure pled in the United States’ Complaint,
ECF No. 1 ¶24. The difference results from updated analyses based on additional data
that Durham provided the United States after the Complaint was filed.
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evidence to believe that Durham could not meet this burden. That evidence is more fully

laid out in the attached declaration of Dr. Harold Goldstein, an Industrial Organizational

Psychologist retained by the United States to evaluate the validity evidence for Durham’s

written test. See Exhibit 2 (Goldstein Declaration). And that evidence explains why

Durham stipulated (ECF No. 3 at 16) that it cannot now show that its uses of the test are

job-related and consistent with business necessity and thus cannot demonstrate that the

written exam meets the requirements of Section 703(k) of Title VII, 42 U.S.C. § 2000e-

2(k).

        In disparate impact cases involving the use of employment tests, the employer

must establish that its use of the test is “valid” to prove that it is job-related and

consistent with business necessity. United States v. Cnty. of Fairfax, 629 F.2d 932, 932,

942–43 (4th Cir. 1980); Robinson v. Lorillard Corp., 444 F.2d 791, 798 n.7 (4th Cir.

1971). 9 The EEOC’s Uniform Guidelines on Employee Selection Procedures, 29 C.F.R.

§ 1607 et seq., (“Guidelines”), provide technical standards that validity studies should

meet, and courts often rely on the Guidelines to assess disparate impact claims. See

supra note 9.

        While it is important that testing professionals develop and validate tests, United

States and Vulcan Society, Inc. et al. v. City of New York, 637 F. Supp. 2d 77, 115

(E.D.N.Y. 2009) (“Vulcan I”), there are many cases where employers retained testing



9
  See also Vanguard Just. Soc’y, Inc. v. Hughes, 592 F. Supp. 245, 256–57 (D. Md. 1984)
(“Vanguard II”); Ernst v. City of Chicago, 837 F.3d 788, 796 (7th Cir. 2016).
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professionals and still could not meet their burden to show that their tests were valid. 10

The bare fact of having obtained a test from a professional company is therefore

insufficient to satisfy an employer’s burden, especially where, as here, the employer fails

to follow the test developer’s recommendations regarding how to use the test. See infra

Section III.B.1.

         There are three primary ways that an employer can validate an employment test



                                                      Ex. 2 (Goldstein) ¶¶12–13. The

Fourth Circuit and district courts within the Fourth Circuit have relied on cases from the

Second Circuit when they analyze whether tests possess sufficient content validity to

justify their use despite their discriminatory impact on protected groups. Cnty. of

Fairfax, 629 F.2d at 943; Vanguard II, 592 F. Supp. at 256. The seminal case in the

Second Circuit on this issue is Guardians Association of the New York City Police

Department v. Civil Service Commission of the City of New York, 630 F.2d 79 (2d Cir.

1980).

         In Guardians, relying on the Guidelines, the court established a five-part test for

analyzing the content validity of an employment test: (1) “the test-makers must have

conducted a suitable job analysis;” (2) “they must have used reasonable competence in


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  See, e.g., United States and Vulcan Society, Inc. et al. v. City of New York, 731 F. Supp.
2d 291, 308 (E.D.N.Y. 2010) (“Vulcan III”); Arndt v. City of Colo. Springs, 263 F. Supp.
3d 1071, 1078–83 (D. Colo. 2017); Smith v. City of Boston, 144 F. Supp. 3d 177, 200–
12 (D. Mass. 2015); Bradley v. City of Lynn, 443 F. Supp. 2d 145, 172–75 (D. Mass.
2006); Ernst, 837 F.3d at 795–805.
                                               16


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ability levels” for the job, or, “at the very least, by analyzing the test results to locate a

logical break-point in the distribution of scores.” Id. at 124 (cleaned up); see also Green

v. Town of Hamden, 73 F. Supp. 2d 192, 200 (D. Conn. 1999) (court enjoined use of test

because of invalid cutoff score).

       In Vulcan I, the court held that the employer used an invalid cutoff score on its

firefighter test, in part, because it did not base the score on a validity study or job

analysis. Vulcan I, 637 F. Supp. 2d at 125. For one of the tests at issue in Vulcan I, the

defendant selected the 70% cutoff score based on the default set by its civil service rules,

in contravention of the warning in Guardians not to do that, and the court held that this

basis was insufficient under the law. Id. at 124–25.

       The available evidence suggests that Durham likely committed this same error of

relying only on an administrative basis to set a cutoff score. See Ex. 2 (Goldstein) at

Section V.e.




                                            Durham produced a document during the United

States’ investigation which implies that it may have chosen 70% because of its

interpretation of a North Carolina state policy—the North Carolina Fire and Rescue

Commission’s Certification Board Policy and Procedure’s Manual—similar to the civil

service rule in Vulcan I. As an initial matter, it is not clear that this policy applies to

hiring tests (as opposed to training academy graduation tests) in the first place. But even


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if it does, as Vulcan I makes clear, relying on this policy alone does not amount to the

kind of “professional estimate of requisite ability levels” or identification of “a logical

break-point in the distribution of scores” that is required under the law. Vulcan I, 637 F.

Supp. 2d at 123–24 (quoting Guardians, 630 F.2d at 105).

       The available evidence suggests only one alternative basis for Durham’s choice of

a 70% cutoff score: the City may have considered what cutoff score on the CEB would

predict a candidate’s capacity to pass the Emergency Medical Technician (EMT)

examination, which each firefighter must pass as part of academy training. Durham,

however, did not produce any evidence that such an analysis was performed before it set

the cutoff score, let alone that it adequately supported a 70% cutoff score in particular.

Ex. 2 (Goldstein) ¶48. The City did produce the analysis of a Durham employee (not a

test development professional) which attempted to draw a correlation between CEB

scores and scores on the EMT examination. But the employee performed this analysis

years after Durham started to use the 70% cutoff score; she concluded that 70% was not

in fact the score that would distinguish candidates who were capable of passing the EMT

test from those who were not; and the analysis itself was conceptually flawed in several

significant ways. Id. Thus, even if this kind of rationale could in theory support an

employer’s choice of a cutoff score, there is no indication that the evidence Durham

would need to mount such a defense is present here.

       Ranking: Durham’s use of the CEB to rank-order candidates for interviews also

contravened both


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and professional testing practice alike and was therefore not a valid basis for making job-

related hiring decisions. Id. at Section V.e. Rank-ordering “based upon the results of an

examination requires strong justification” because even if a test can make “gross

distinctions” between candidates, that does not provide “confidence for inferring that

one-point increments among” test takers are a “valid basis for making job-related hiring

decisions.” Vulcan I, 637 F. Supp. 2d at 128 (applying Guardians). Thus, to justify the

rank-order use of a test, the professional test developer must conduct additional analyses

beyond those that would support the pass-fail use of the test. Id. at 128–29; Smith v. City

of Boston, 144 F. Supp. 3d 177, 208-09 (D. Mass. 2015). Otherwise, an employer has no

valid basis to differentiate between, for example, a candidate who received an 80 on a test

from a candidate who received an 81.



                                                                     Ex. 2 (Goldstein) at

Section V.e. Without any valid basis, Durham

    chose to rank candidates based on their numerical test scores for purposes of

selecting them for interviews.

                 2.     Durham did not conduct a suitable job analysis.

       The starting point for a validly developed test is a job analysis where testing

professionals assess what work behaviors are important for successful job performance

and those behaviors’ relative importance. Vulcan I, 637 F. Supp. 2d at 110; Vanguard II,

592 F. Supp. at 258. A job analysis is important because the test developer must


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understand what tasks, knowledges, skills, and abilities are important for the job before

they can design a test that distinguishes between candidates who possess them and those

who do not. 29 C.F.R. § 1607.14(C)(2)–(3); Gulino v. Bd. of Educ. of City Sch. Dist. of

City of New York, 113 F. Supp. 3d 663, 676–77 (S.D.N.Y. 2015).

       Durham did not conduct a job analysis and, instead, it relied on

                                                                                       Ex. 2

(Goldstein) at Section V.a. There are sometimes substantial differences between

firefighting jobs in different fire departments, and without a job analysis of the Durham

Fire Department (DFD) firefighting job, Durham could not determine if its firefighting

job materially differed from the        firefighter job. Id.

       For example,



                                                      Id. By contrast, New York City

conducted a job analysis of its firefighter position in 2010, and             did not make

the list of important knowledges or skills there. Exhibit 6 (FDNY Firefighter Test

Development and Validation Report, United States and Vulcan Society, Inc. et al. v. City

of New York, 07-cv-2067 (E.D.N.Y. Sept. 24, 2012), ECF No. 976-1) at 25–27; Ex. 2

(Goldstein) ¶27.

       Without investigating whether there were important differences between the

firefighter jobs at DFD and        , Durham could not validly “transport” or adopt the

validity evidence from        to support the validity of Durham’s use of the CEB. Ex. 2


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(Goldstein) ¶28; see also Lanning v. Se. Pa. Transp. Auth. (SEPTA), 181 F.3d 478, 492

n.18 (3d Cir. 1999) (finding that reliance on another jurisdiction’s validity study was

“misplaced” absent evidence that the jobs were comparable); Vanguard Just. Soc’y, Inc.

v. Hughes, 471 F. Supp. 670, 730–32 (D. Md. 1979) (“Vanguard I”) (finding that validity

studies from other employers could not be used without establishing transportability

consistent with the Guidelines).

       FPSI also conducted                          almost two decades ago in 2007.




Most experts agree that validity studies should be conducted every five years. Ex. 2

(Goldstein) at Section V.c.; see also Bradley v. City of Lynn, 443 F. Supp. 2d 145, 172–

73 (D. Mass. 2006) (finding a decade old validity report relying on data from another

jurisdiction was outdated). FPSI’s outdated analyses could not account for changes in the

firefighting profession in the years since 2007.

                 3.     The CEB is not representative of the job of firefighter.

       The CEB is also flawed because even if a job analysis had shown that the DFD

firefighter job was substantially the same as the      firefighter job, which it did not, the

CEB covers an unreasonably narrow portion of



     firefighter job. To satisfy the Guardians requirement of “representativeness,” an

employer must establish that, to the extent that they can be feasibly measured, the test


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measures the important aspects of the job. Vulcan I, 637 F. Supp. 2d at 118. This

requirement prevents, among other things, the “needless elimination of some significant

parts of the job’s requirements from the selection process entirely.” Id. Furthermore, to

satisfy the representativeness requirement, “the content of the test must be

proportionately representative of the content of the job.” Vanguard II, 592 F. Supp. at

265.

       To illustrate, imagine a baseball team that drafts players based merely on their

ability to run fast and without regard to their ability to hit, throw, and field their positions.

Such a selection process would lack representativeness because it omits significant

requirements of a baseball player’s job. Relying on this kind of narrow selection process

may well eliminate the candidates most likely to be home-run hitters and overall great

contributors to the team.

       In Vanguard II, the court held that the firefighter test at issue lacked

representativeness because it did not measure certain important knowledge areas and

weighted some knowledge areas too heavily. Id. at 266; see also Vulcan I, 637 F. Supp.

2d at 119–20 (test lacked representativeness because it did not cover important aspects of

the job); Smith, 144 F. Supp. 3d at 207–08 (same).

       The CEB suffers from these same defects.




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                                                   Ex. 2 (Goldstein) ¶18.



                                   Id. ¶19.




                    Id. ¶¶19–20.

       FPSI

                                   was methodologically inappropriate and inconsistent

with accepted professional standards and practices because it arbitrarily limited the

number of KSAPCs that the test measured. Id. at Section V.b. Indeed, some of the

KSAPCs                         can and should be measured on a test for entry-level

firefighters. Id. ¶¶30–33. For example,




                                                                  Id. ¶18. Since at least

2012, the FDNY has used a test that measures this ability, in part, by showing test takers

a video of an individual giving instructions and then asking them questions about those

instructions. See id. ¶32; Ex. 6 (FDNY Report) at 35-39. Similarly, the FDNY test

included items that measured


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             See Ex. 2 (Goldstein) ¶33. Like                                               ,

these personality traits can be, and often are, measured on entry-level hiring tests. Id. By

choosing candidates based on a narrow and unnecessarily skewed set of KSAPCs,

Durham has likely eliminated qualified applicants in its firefighter selection process.

         Thus, for all the reasons discussed above, there is a strong basis in evidence,

consistent with Durham’s own stipulation, that Durham cannot meet its burden to show

that its use of the CEB is job-related and consistent with business necessity. ECF No. 3

at 16.

            C.     There is a strong basis in evidence that the relief in the consent
                   decree is well within the bounds of what a court might impose after
                   a finding of liability.

         The consent decree provides relief that is available and typically awarded under

Title VII. See ECF No. 3 at 17–20. As such, there is a strong basis in evidence that the

United States could recover at least this much relief if the case were to proceed to trial.

                   1.     The proposed consent decree provides for the kinds of relief
                          that courts have found necessary to address Title VII
                          disparate impact violations.

         Courts have routinely awarded back pay and priority hiring relief with retroactive

seniority to victims of the employer’s discrimination. See, e.g., Guardians, 630 F.2d at

106 n.24. 11 Along with the prospective test development provisions of the consent decree


11
  See also United States and Vulcan Society, Inc. et al. v. City of New York, 877 F. Supp.
2d 57, 62–66 (E.D.N.Y. 2012) (“Vulcan V”), modified by 905 F. Supp. 2d 438 (E.D.N.Y.
2012) (“Vulcan VI”); Vanguard II, 592 F. Supp. at 271–72.
                                               25


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discussed above, see supra Section II.D, which have similarly been approved as a routine

matter, Guardians, 630 F.2d at 109, 12 these are the basic forms of relief in the proposed

consent decree.

                  2.      Courts follow the same approach as in the proposed consent
                          decree when determining who is eligible for relief and to what
                          extent.

        To determine who is eligible for back pay and priority hiring relief, courts have

followed the approach in the proposed consent decree of first establishing the total

amount of back pay and total number of priority hires the employer must provide and

then establishing the eligibility criteria that claimants must meet to be entitled to such

relief. United States and Vulcan Society, Inc. et al. v. City of New York, 877 F. Supp. 2d

57, 62–67 (E.D.N.Y. 2012) (“Vulcan V”); Segar v. Smith, 738 F.2d 1249, 1264–65,

1288–91 (D.C. Cir. 1984) (class-wide back pay award affirmed); Hameed v. Int’l Ass’n of

Bridge, Structural & Ornamental Iron Workers, Loc. Union No. 396, 637 F.2d 506, 519–

22 (8th Cir. 1980) (same).

        To determine the total award of monetary relief and priority hires, courts

determine the number of applicants in the group that the employer discriminated against

who, absent the discriminatory practice at issue, one would have expected to be hired. Id.

at 520. 13 This is called the hiring shortfall. In calculating the hiring shortfall in a case


12
   See also United States and Vulcan Society, Inc. et al. v. City of New York, 681 F. Supp.
2d 274, 278 (E.D.N.Y. 2010) (“Vulcan II”); Vanguard II, 592 F. Supp. at 271.
13
   See also United States and Vulcan Society, Inc.et al. v. City of New York, 847 F. Supp.
2d 395, 409–16 (E.D.N.Y. 2012) (“Vulcan IV”); Equal Emp. Opportunity Comm’n v. O &

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involving a discriminatory test, courts presume that candidates in the group discriminated

against (here, African-American candidates) would have performed as well as the best

performing group (here, White candidates) on the challenged test if the test had been

nondiscriminatory. Berkman v. City of New York, 705 F.2d 584, 594–95, 595 n.13 (2d

Cir. 1983). 14 The United States and Durham followed this approach to reach a

compromise, reflected in the proposed consent decree, on the total amount of monetary

relief and number of priority hires. See Ex. 1 (Scherbaum) at Section III.C.

       In cases involving discriminatory hiring policies, courts have held that individuals

in the protected group who were screened out by the discriminatory policies are

presumptively entitled to back pay and priority hiring relief. Franks v. Bowman Transp.

Co., 424 U.S. 747, 772 (1976); Int’l Bhd. of Teamsters v. United States, 431 U.S. 324,

361–62 (1977); United States and Vulcan Society, Inc. et al. v. City of New York, 681 F.

Supp. 2d 274, 283–85 (E.D.N.Y. 2010) (“Vulcan II”). It is an employer’s burden to rebut

this presumption with evidence that, absent the discriminatory policy, it still would not

have hired the individual. Id. This presumption is particularly important when it is

impossible to know for certain how individuals harmed by a discriminatory policy would

have fared in a nondiscriminatory hiring process. Courts resolve that uncertainty against

the employer because its discriminatory policy caused the uncertainty. Vulcan II, 681 F.


G Spring & Wire Forms Specialty Co., 790 F. Supp. 776, 779–80 (N.D. Ill. 1992), aff’d,
38 F.3d 872 (7th Cir. 1994).
14
   See also United States and Vulcan Society, Inc. et al. v. City of New York, 637 F. Supp.
2d 77, 96–97 (E.D.N.Y. 2009) (“Vulcan I”); United States v. Pennsylvania, 14-CV-1474,
2017 WL 4354917, at *10 (M.D. Pa. Oct. 2, 2017).
                                             27


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Supp. 2d at 285 (citing Cohen v. W. Haven Bd. of Police Comm’rs, 638 F.2d 496, 502 (2d

Cir. 1980)). 15

        Taking this presumption in favor of relief into account, it is appropriate to set

relief eligibility criteria in a way that ensures claimants suffered harm from the

discriminatory policy and would have satisfied the employer’s other nondiscriminatory

hiring criteria. Vulcan V, 877 F. Supp. 2d at 60–62. The parties took this approach in the

proposed consent decree. The relief eligibility criteria in the consent decree ensure that

claimants (i) are in the group discriminated against (African-American), (ii) were harmed

by the challenged test, and (iii) met the nondiscriminatory minimum qualifications for the

job. ECF No. 2-2 ¶¶61–63.

        By agreeing to the terms of the consent decree, Durham has elected to forgo its

opportunity to rebut the presumption in favor of relief as to eligible claimants by

presenting individualized evidence that it still would not have hired them. This is

reasonable, given that it is impossible to know how any of them would have fared if

Durham had administered a valid nondiscriminatory test to them. For the reasons

discussed above, a valid nondiscriminatory test may well have focused on different

KSAPCs than the CEB, which

     and failed to measure even the important KSAPCs of that job in a representative

manner. See supra Section III.B.3. Thus, even individuals with low scores on the CEB


15
  See also Equal Emp. Opportunity Comm’n v. Joint Apprenticeship Comm. of the Joint
Indus. Bd. of the Elec. Indus., 186 F.3d 110, 122 (2d Cir. 1999); United States v. City of
Miami, 195 F.3d 1292, 1299 (11th Cir. 1999) (“Miami III”).
                                              28


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may have scored much higher on a test which better represented the KSAPCs important

to the DFD job. Nor is there any feasible means of discerning how disqualified

applicants would have performed on the later steps in Durham’s hiring process, such as

its drug screen.

       Given this uncertainty, it is appropriate to award relief to all individuals who

satisfy the eligibility criteria in the proposed consent decree and not to limit eligibility to

candidates who scored at some minimal level of performance on the CEB, as the Court

considered at the December 16, 2024 hearing. As happens to be the case here, very few

African-American candidates who failed the CEB scored exceedingly poorly. See Ex. 1

(Scherbaum) ¶¶42–44. But again, even those who did score poorly may well have passed

a valid test and gone on to be hired had they not been disqualified by the CEB. See Ex. 2

(Goldstein) ¶36. There is thus no evidentiary basis for the Court to set a cutoff score for

purposes of making individual relief determinations.

       For these same reasons, many other courts have approved consent decrees that

awarded claimants pro rata shares of monetary relief and the opportunity to participate in

the priority hiring process if they were disqualified by a challenged employment test and

met the minimum qualifications for employment at the time of their disqualification,

without regard for how high they scored on the challenged test. See, e.g., Exhibit 7 (Am.

Settlement Agreement, United States v. Balt. Cnty., Md., 19-CV-2465 (D. Md. May 24,




                                              29


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2021), ECF No. 48) ¶¶59–63. 16 Such distributions do not provide for more than make-

whole relief since, as described above, the total amount of relief is based on an analysis

of how many additional candidates in the protected group the employer would have hired

absent discrimination.

        Furthermore, although claimants who scored poorly on the CEB may be eligible to

participate in the priority hiring process, none of these claimants will be hired as priority

hires without passing all steps in Durham’s new hiring process, including the new

selection device that will be adopted under the decree. ECF No. 2-2 ¶67. Nor will the

claimants who become priority hires receive more than make-whole relief in terms of

retroactive seniority. In determining the appropriate amount of retroactive seniority to

award, courts determine when the claimant would have been hired had the employer’s

unlawful practice not disqualified them. Franks, 424 U.S. at 767–68. The consent

decree meets this standard because it appropriately sets retroactive seniority based on the

date Durham would have hired the priority hire had they not been disqualified by the

written test. ECF No. 2-2 ¶123. 17


16
   See also Exhibit 8 (Settlement Agreement, United States v. Rhode Island, 1:14-cv-78S
(D.R.I. Sept. 18, 2017), ECF No. 80-1) ¶¶48–52; Exhibit 9 (Consent Decree, United
States v. City of Lubbock, 5:15-cv-234-C (N.D. Tex. May 26, 2016), ECF No. 19-1)
¶¶55–60; Exhibit 10 (Consent Decree, United States v. City of Austin, 1:14-CV-00533-LY
(W.D. Tex. June 6, 2014), ECF No. 64) at 22, 28–29; Exhibit 11 (Settlement Agreement,
United States v. Massachusetts, 1:09-cv-11623 (D. Mass. Feb. 10, 2012), ECF No. 144-2,
144-3) ¶¶17, 51, 57–66.
17
   This is another way this case differs from Brennan. The Brennan decision noted “it was
unclear at the time of the City Defendants’ actions, and it remains unclear today” who
among the relief beneficiaries “was a victim of any disparate-impact discrimination that

                                             30


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                  3.     The relief in the proposed consent decree would not unfairly
                         harm third parties.

       Under Title VII, the interests of third parties cannot overcome the presumption in

favor of make-whole relief for victims of discrimination absent the existence of unusual

circumstances because courts must award “the most complete relief possible.” Franks,

424 U.S. at 764, 779 n.41 (cleaned up); see also Kirkland, 711 F.2d at 1126;

Massachusetts, 869 F. Supp. 2d at 195–96. It is possible that if the consent decree is

entered, some future firefighter candidates may have their appointment to DFD delayed

because DFD hires priority hire candidates ahead of them. But that is typical in cases

such as this and not an unusual circumstance. United States and Vulcan Society et al. v.

City of New York, 905 F. Supp. 2d 438, 446 (E.D.N.Y. 2012) (“Vulcan VI”) (objections to

priority hiring relief overruled) and Balt. Cnty., 2021 WL 2000480, at *6, *8 (objections

to retroactive seniority awards for priority hires overruled).

       Sometimes courts have found that an award of retroactive competitive seniority—

such as seniority that determines which employees receive overtime opportunities—

constitutes an unusual circumstance that warrants a limitation on make-whole relief to


might have occurred, and how much retroactive seniority was necessary to make such
individuals whole.” United States v. Brennan, 650 F.3d 65, 110 (2d Cir. 2011). Unlike
Brennan, where not all the beneficiaries had taken the challenged examinations, here the
consent decree limits eligibility for relief to individuals disqualified by Durham’s test.
Brennan, 650 F.3d at 79; ECF No. 2-2 ¶¶62–63. Additionally, unlike Brennan, where the
awards of retroactive seniority arguably resulted in some beneficiaries receiving more
than make-whole retroactive seniority, Brennan, 650 F.3d at 82, 110, 129, here retroactive
seniority is provided dating back to the date when the claimant would actually have been
hired if they had not been disqualified by the challenged exam, id. ¶123, ensuring no
more than make-whole relief.
                                             31


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protect the rights of incumbent employees. See, e.g., United States v. City of Hialeah,

140 F.3d 968, 983 (11th Cir. 1998). That is not a concern here because the proposed

consent decree does not provide any competitive seniority, but only non-competitive

seniority, which impacts the pay and benefits of the priority hires and no one else. ECF

No. 2-2 ¶¶121–22. Thus, there are no unusual circumstances that overcome the

presumption in favor of awarding the make-whole relief in the consent decree, including

priority hiring relief.

   IV.      Conclusion

         The United States respectfully reiterates the Parties’ request to provisionally

approve the proposed consent decree.




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Dated: January 15, 2025

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                          CERTIFICATE OF WORD COUNT

       I certify on this 15th day of January, 2025, that this Brief complies with the word

count limit established by the Court. ECF No. 17. The number of words in this Brief,

exclusive of the caption, signature lines, certificate of service, and any cover page or

index, according to the word count feature of the word processing software used to

prepare the Brief, does not exceed 9,000 words.

                                                         /s/ Emily Given




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of January, 2025, I electronically filed the

foregoing Brief using the Court’s CM/ECF system, which will send notification of such

filing to all counsel of record.

                                                         /s/ Emily Given




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